82 F.3d 410
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Michael L. JORDAN, Plaintiff--Appellant,v.Lonnie M. SAUNDERS;  Ron Angelone, Defendants--Appellees.
    No. 95-8528.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  March 21, 1996.Decided:  April 16, 1996.
    
      W.D.Va.
      AFFIRMED.
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.   James C. Turk, District Judge.  (CA-95-1215)
      Affirmed by unpublished per curiam opinion.
      Michael L. Jordan, Appellant Pro Se.
      Before NIEMEYER and MICHAEL, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his motion to vacate the judgment dismissing his 42 U.S.C. § 1983 (1988) complaint.   We have reviewed the record and the district court's opinion and find no reversible error.   Accordingly, we affirm substantially on the reasoning of the district court.   Jordan v. Saunders, No. CA-95-1215 (W.D.Va. Nov. 17 &amp; 30, 1995).  See generally Hanvey v. Blankenship, 631 F.2d 296, 297 (4th Cir.1980) (prison officials do not violate inmate's Constitutional rights when they seize contraband).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    